Case 1:21-cv-00339-RGA Document 173 Filed 11/27/23 Page 1 of 3 PageID #: 16985




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 FUNDAMENTAL INNOVATION SYSTEMS                          )
 INTERNATIONAL LLC.,                                     )
                                                         )
                Plaintiff,                               )
                                                         )   C.A. No. 21-339-RGA
                v.                                       )
                                                         )   FILED UNDER SEAL
 ANKER INNOVATIONS LTD. AND                              )
 FANTASIA TRADING LLC D/B/A                              )
 ANKERDIRECT,                                            )
                                                         )
                Defendants.                              )



PLAINTIFF FUNDAMENTAL INNOVATION SYSTEM INTERNATIONAL'S REPLY BRIEF IN
 SUPPORT OF ITS MOTION TO STRIKE DEFENDANTS’ CROSS-MOTION FOR SUMMARY
                         JUDGMENT OF INVALIDITY

       Anker’s opposition does not explain why it could not have filed a summary judgment of

invalidity on the ‘550 patent in accordance with the deadline set in the scheduling order or even

why it needs to file a cross-motion of summary judgment motion. Anker also cannot deny that by

not including a request for summary judgment of invalidity on the ‘550 patent as part of its

dispositive motions, it was able to devote the opening brief and the reply entirely to the Daubert

motion instead of having to address multiple issues within the same page limits. That is an

undeniable tactical advantage that Anker has gained by filing an untimely cross motion of

summary judgment of invalidity. Anker does not even claim, let alone shows, that it will be

prejudiced if its cross motion is struck and the Court considers only Fundamental’s timely filed

summary judgment motion. Thus, for reasons stated in Fundamental’s opening brief and below,

the Court should strike Anker’s untimely cross motion for summary judgment.




                                              -1-
Case 1:21-cv-00339-RGA Document 173 Filed 11/27/23 Page 2 of 3 PageID #: 16986




I.     The Cross-Motion was Untimely

       Anker’s opposition fails to cite any relevant authority to justify its late filing of the

summary judgment motion, referencing instead to an online general dictionary and case law on

New York State civil procedures that have no applicability to practice in federal courts. D.I. 163

at 1-2. That alone shows the flimsy ground Anker is on.

       Anker’s opposition does not explain what prevented it from filing a summary judgment

motion on the ‘550 patent on the deadline set in the Court’s scheduling order. D.I. 163 at Id. The

Court’s remark that his Honor does not “plan to do a whole lot of work on the ‘550 patent while

it’s in the rejected status” does not relax the deadline for filing summary judgment motions on the

‘550 patent. If Anker believed there was ambiguity on the deadline, it should have sought

clarification. The opposition also does not explain why Anker needs to file a cross-motion instead

of just responding to Fundamental’s summary judgment motion. D.I. 163 at 2-4.

       Anker also does not deny that it did ask the Court to do work related solely to the ‘550

patent in its discovery motion and in its renewed motion for claim construction. D.I. 163 at 3 n.1.

If Anker truly believes that the Court’s remark means all deadlines related to the ‘550 patent are

stayed, then those discovery and claim construction deadlines would have been stayed as well.

Yet, at the October 26 hearing, Anker pressed vigorously on issues related solely to the ’550 patent,

without ever hinting that those issues could be continued until the state of the ‘550 reexamination

changes. It has also never indicated to the Court that the claim construction dispute for the ‘550

patent is not ripe for resolution until the PTO reverses its ruling. Simply put, Anker is asking the

Court to do work on the ‘550 patent when it suits its purpose, but then uses the Court’s prior

remarks to excuse its failure to abide by the Court’s scheduling order.

II.    The Delay Was Prejudicial

       Anker argues that because it did not file a reply in support of its cross motion, there is no

                                                -2-
Case 1:21-cv-00339-RGA Document 173 Filed 11/27/23 Page 3 of 3 PageID #: 16987




prejudice. D.I. 163 at 4-5. That is incorrect. Anker does not claim that it could have possibly fit

its full argument for the summary judgment of invalidity in the remaining 1.5 pages of the opening

brief. And by not including the summary judgment motion as part of its opening motions, it also

gained the advantage of devoting the entire 20 pages of the reply brief to only the Daubert motion,

instead of having to also address the invalidity issues. Thus, by filing the untimely cross motion,

Anker has gained the advantage of obtaining a summary judgment without being bound by the

page limits set by the Court. That is improper.

       For these reasons, the Court should strike Anker’s untimely cross-motion for summary

judgment.

 Dated: November 20, 2023                Respectfully submitted,

                                             FARNAN LLP

                                         By: _/s/ Brian E. Farnan
                                             Brian E. Farnan (Bar No. 4089)
                                             Michael J. Farnan (Bar No. 5165)
                                             919 N. Market Street, 12th Floor
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 777-0300
                                             Facsimile: (302) 777-0301
                                             bfarnan@farnanlaw.com
                                             mfarnan@farnanlaw.com

                                             Jason G. Sheasby (admitted pro hac vice)
                                             H. Annita Zhong (admitted pro hac vice)
                                             IRELL & MANELLA LLP
                                             1800 Avenue of the Stars, Suite 900
                                             Los Angeles, CA 90067
                                             Telephone: (310) 277-1010
                                             Facsimile: (949) 760-5200
                                             jsheasby@irell.com
                                             azhong@irell.com

                                             Attorneys for Plaintiff
                                             FUNDAMENTAL INNOVATION SYSTEMS
                                             INTERNATIONAL LLC



                                               -3-
